12/24/2018 CaS€ 2216-Cr-00055-DWA DOCumém@l@V~YSleiléd 01/09/19 Page 1 Of 5
Name: Simon Tusha|DOB:11/3/1972|MRN:JH87269468|PCP:Amara Z Burney, M v

suRG\cAL PATHoLoGY: RouTINE sPEc\MEN - Detai\s E>“\‘b'lt A

Component Results g `

Component YourValue Standard Range

Surg Path Report THE Patient: TUSHA,S|MON Path# 518-74707
JOHNS HOPKINS
HOSP|TAL JHH MR # 8-726-94-68 Accessioned 11/28/2018
Dermatopathology
and Birthdate: 11/03/1972 (Age 46) Loc: JH-109
Oral Pathology
600 N. Wolfe Street Gender: M Spec. Taken 11/27/2018
Baltimore, Md.
21287-8048 JHH Physician: NOOR| KlM, MD

 

|NTERPRETAT|ON AND D|AGNOS|S: (gXe) 12/06/2018 @ 04:57 pm

1. D|AGNOS|S: SK|N, MID LOWER BACK (B|OPSY): SEVERELY ATYPICAL COMPOUND
MELANOCYT|C PROL|FERAT|ON W|TH REGRESS|VE FEATURES, FOCALLY EXTEND|NG TO
B|OPSY BASE (SEE NOTE).

NOTE: This is a difficult case. There are areas ofjunctional confluency,

seen on both routine and Sox10 stains, concerning for melanoma in situ.
The dermal component appears nevoid and follows a follicle, as in a
congenital pattern nevus. However, there is

focal dermal reggressive

change, also seen with the WG stain (elastic fibers focally pushed down

by the dermal fibrosis) and a regressed invasive melanoma cannot be
excluded. The regressed area measures 0.8mm in maximum depth. The lateral
margins appear negative, but the the deep margin is focally involved. A
re-excision with negative margins is recommended for complete eradication
of this lesion. This case was reviewed at the Dermatopathology quality
assurance conference. Dr. N. Kim was notified of the findings by Dr. Erdag
on 12/6/2018 at 4:57pm.

GULSUN ERDAG, M.D. GE*

*Electronic signature (12/06/2018 @ 04:58 pm) by which | attest that
the above diagnosis is based upon my personal examination of the
slides (and / or other material indicated in the diagnosis), and

that l have reviewed and approved this report.

Clinical History:
https://mycha.rt.hopkinsmedicine.0rg/mychart/inside.asp?mode=labdetail&eorderid=Xx5]deg5p8b%2Biy7oFPBmA%3D%3D&printm0de=true l/3

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12/24/2018 CB.S€ 2216-CI’-00055-DWA DOCUmG`iTVF®F*I¢S‘P¢l€|€l 01/09/19 PB_Q€ 2 Of 5

Component YourValue Standard Range

46YO CAUCAS|AN MAN W|TH 9MM RED BROWN MACULE, ASYMMETR|C
PIGMENT STRUCTURES, WH|TE CRYSTALL|NE STRUCTURE IN CENTER,
M|D LOWER BACK.

DDX: MELANOMA
GROSS DESCR|PT|ON

PART #l: M|D LOWER BACK (jxh)
Resident Pathologist: ABHA SON|, DO 11/28/2018

Submitted by: BENJAM|N LAO.

Specimen received: |n formalin

Patient's name on label: Tusha, Simon

Specimen designation: Mid lower back

Number of pieces received: 1 (One)

Measurement Piece 1:1.3 x 1.2 x 0.1 cm

Lesion Evident: Yes

Description of Lesion: irregularly shaped red brown macule

The specimen is unoriented. The margin is inked, and the specimen is
sectioned into a total of 2 (Two) piece(s) and submitted in its entirety.

SUMMARY OF SECT|ONS:
1 - A - 2
1 - TOTAL - 2

(End of Report) printed 12/06/2018 17:05

Reported

by:

Johns Hopkins Medical institutions
Dermatopathology and Oral Pathology
600 N. Wolfe St., Baltimore, MD 21287
Tel: 410-955-3484 or 877-321-9444

Final Report Signed on 12/06/2018 at 04:58 pm

General information

Collected:
11/27/2018

Resulted:
12/06/2018 4:58 PM

https://mychart.hopkinsmedicine.org/mychart/inside.asp?mode=labdecajl&eorderid=Xx51deg5p8b%2Biy7oFPBmA%3D%3D&printmode=true 2/3

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12/24/2018 Case 2:16-Cr-00055-DWA DocumeMiCMv-Iresrl®ii@d 01/09/19 Page 3 of 5
Ordered By:
Noori Kim, MD

Resu lt Status:
Final result

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601 N Car'oiine St

 

 

 

 

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